LEE A. PHILLIPS, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Phillips v. CommissionerDocket No. 29493.United States Board of Tax Appeals20 B.T.A. 438; 1930 BTA LEXIS 2121; July 31, 1930, Promulgated *2121  The March 1, 1913, value of certain property determined.  W. W. Spalding, Esq., for the petitioner.  T. M. Mather, Esq., for the respondent.  SEAWELL*438  This proceeding involves a deficiency in income tax as determined by the Commissioner for 1922 in the amount of $3,933.56, and has for its only issue the March 1, 1913, value of certain land which was acquired by the petitioner in 1911 and sold by him in 1922.  FINDINGS OF FACT.  The petitioner is an individual and has his place of residence in Los Angeles, Calif.In 1911 petitioner purchased 115 acres of land near Los Angeles, Calif., at a cost of approximately $51,000 and on January 2, 1912, purchased for $900 an additional acre which adjoined the land previously purchased and served to complete or fill out a regular tract.  In 1922 he sold the foregoing tract of land for $102,500 cash, and reported a taxable gain therefrom of $1,170.50, which is the difference between a March 1, 1913, value of $98,829.50, as determined by the petitioner, and the sale price, less commission of $2,500.  The land in question is described as the east half of lot 8, which was a part of the Robert Tweedy*2122  Estate.  It is located near the Long Beach Boulevard between Lynnwood and Los Angeles, Calif., being about three-fourths of a mile nearer Los Angeles than Lynnwood.  The property was acquired by petitioner from an indigent member of the Tweedy family who was in straitened circumstances.  He had made loans on other properties and needed funds.  At the date of acquisition the property was under cultivation, and immediately after acquisition the petitioner began making improvements, such as the installation of a water system, clearing the ditch banks and leveling the ground for irrigation purposes, which improvements *439  had been completed prior to March 1, 1913.  The property is well adapted for subdivision purposes.  In the latter part of 1912 a large subdivision was started to the south of petitioner's property, which is now known as Lynnwood.  Development was also taking place in 1911, 1912, and 1913 about one mile to the north - between petitioner's property and Los Angeles, known as the Southern Extension Co. development.  In connection with the latter development a car line was being built thereto in 1912 or 1913, though it never reached petitioner's property.  A car*2123  line was also in existence on March 1, 1913, to the south of petitioner's property at Lynnwood.  Real estate activity in this section began about 1912 through the improving of Long Beach Boulevard, which passes within 400 feet of petitioner's property.  Soil and water conditions are important considerations in the development of properties in this locality and those pertaining to petitioner's property compared favorably with those of other properties to the north and south on the same side of the Long Beach Boulevard.  The World War had a depressing effect on real estate values in this vicinity and the greater part of the increase in value of the property in question, while owned by petitioner, took place between 1911 and 1913.  Assessed values of the property were as follows: 1911, $9,800; 1912, $29,540; 1913, $25,930; and 1920, 1921, and 1922, $31,980.  The March 1, 1913, value of the 116 acres of land sold in 1922 was $850 per acre.  OPINION.  SEAWELL: The question presented is entirely one of fact, namely, the March 1, 1913, value of certain property which was acquired in 1911 and sold in 1922.  The Commissioner and the petitioner fixed values of $600 and $850 per acre, *2124  respectively.  Evidence was offered as to sales of property in this locality; witnesses familiar with this property and well qualified to express an opinion as to the value in question testified as to their opinion of the value on March 1, 1913; evidence as to an offer made for the property in the latter part of 1912 or early part of 1913 was submitted; and much testimony was given as to the relative values of various properties in this locality, taking into consideration the location, soil, water, and other conditions which would affect values.  Some of the values fixed for this particular property were much in excess of that found by us, one being as high as $1,500 per acre, and others were less than that found by the Commissioner.  However, when all factors are taken into consideration, including the competency of the witnesses *440  and their ability to testify as to value in question, we are of the opinion that the value heretofore found is reasonable and well supported by the record before us.  Judgment will be entered under Rule 50.